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UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

 

JUAN CARLOS LOPEZ, CARLOS
VILLEGAS, HECTOR LUCIANO
RODRIGUEZ, FRANCO MONROUREAU,
JUAN MIGUEL CAMARERO, JOEL
ALMESTICA, EFRAIN GARCIA, ANGEL
RODRIGUEZ, EDWIN BAEZ-TORRES,
ORLANDO ACETTY-BERMUDEZ, WILSON
TORRES RIVERA, JUAN ALBERTO
VARGAS, JOSE MORALES-DIAZ, LUIS
ALBERTO AYALA-DIAZ, and
BETHZAIDA SIERRA GONZALEZ, as
Successor-in-Interest of the
Estate of GABRIEL COTTO,

Plaintiffs,

CIVIL ACTION
NO. 3:17-01154-WGY

V.

MANZANA LLC, LAWRENCE WILLIAMS,
and RONALD RASCH FARMS, LLC,

Defendants.

\_/\_/VVVVVVV`_/VVVVVVVVV\_/\_/\/Vv

 

YOUNG, D.J.1 July 25, 2018

MEMORANDUM AND ORDER

I. INTRODUCTION

The Plaintiffs, a group of migrant agricultural workers
from Puerto Rico, allege violations of the Migrant and Seasonal

Agricultural Worker Protection Act (“AWPA”), discrimination on

 

l Of the District of Massachusetts, sitting by designation.

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the basis of national origin, and breach of contract against the
Defendants Manzana LLC (“Manzana”), Manzana’s owner Lawrence
Williams (“Williams”), and Ronald Rasch Farms, LLC (“Rasch
Farms”). Rasch Farms moves for dismissal based on lack of
personal jurisdiction. For the following reasons, the Court
GRANTS Rasch Farms’s motion.

A. Procedural History

On February 2, 2017, the Plaintiffs filed their initial
complaint against Manzana and Williams, alleging violations of
the AWPA, Michigan wage and employment laws, and federal and
state discrimination laws. §§e Compl. II 59-150, ECF No. l.
They later filed an amended complaint on June 9, 2017, adding
Rasch Farms as a defendant, removing the wage and employment
claims, and adding two breach of contract claims.2 Am. Compl. IL
127-185, ECF No. 15.

On July 17, 2017, Rasch Farms filed a motion to dismiss for
lack of personal jurisdiction, or alternatively, to change
venue. Def.'s Mot. Dismiss (“Def.’s Mot.”), ECF No. 22. The
Plaintiffs opposed the motion. Pls.’ Mem. Opp’n Mot. Dismiss

(“Pls.’ Opp’n”), ECF No. 26. This Court heard oral argument on

 

2 The Plaintiffs have since voluntarily dismissed their
federal discrimination claim. See ECF No. 38.

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the motion on April 19, 2018, and took the matter under
advisement.3

B. Facts Alleged

Federal law allows agricultural employers in the United
States to apply for visas and hire temporary foreign workers
when the number of available local workers is insufficient to
meet demand. Am. Compl. I 41. This program, commonly known as
the “H-ZA Program,” requires employers first to apply to the
United States Department of Labor (“USDOL”) for a certification.
ld; at I 42. To qualify for certification, the employer must
submit a clearance order detailing the terms and conditions of
the potential employment. l§; at L 43. This clearance order is
forwarded through an interstate system to local employment
agencies around the United States (including Puerto Rico) in
order to recruit and refer qualified workers. ld; at LT 42-43.
Employers who wish to recruit workers through the H-ZA Program
must comply with certain regulations concerning wages, housing,
and recordkeeping. l§; at T 45.

The Plaintiffs allege that Rasch Farms, an owner and
operator of apple orchards in Michigan, “utilized” Manzana as a
farm labor contractor and “compensated [Manzana] to perform farm

labor activities.” Id. at IT 33, 35-37. In June 2015, Manzana

 

3 The Court also heard argument on Manzana’s and Williams’s
motion for change of venue, which it denied. See ECF No. 39.

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prepared and submitted an agricultural clearance order to meet
the H-ZA certification requirement. ld; at I 46; Ex. l. The
clearance order was then transmitted to local agencies around
the country, including the Puerto Rico Department of Labor
(“PRDOL”), for the recruitment of domestic workers. ld; at I
47. Rasch Farms provided Manzana with the address of its
worksites and housing to be included on the clearance order.
§d; at I 48. Manzana then recruited workers in accordance with
the H-ZA Program rules and regulations. ;d; at I 53. The
Plaintiffs, who were all permanent residents of Puerto Rico at
the time, contacted the PRDOL in July and August 2015, seeking
agricultural jobs. ld; at T 55. PRDOL provided the Plaintiffs
with information about the employment opportunity with Manzana
and the terms and conditions contained in its clearance order.
ld; at I 56. Williams, the owner of Manzana, then interviewed
each of the Plaintiffs over the phone and reviewed the terms and
conditions of the clearance order with them. ld; at I 58.

The Plaintiffs allege that after they traveled to Michigan
to work for Manzana in August 2015, their transportation costs
were reimbursed by Williams. ;d; at II 68, 71, 74. Shortly
after the Plaintiffs started work, however, Manzana and its
agents made various derogatory comments to the Plaintiffs based
on their status as Puerto Rican nationals. ld; at II 91-96.

Williams then required many of the Plaintiffs to sign “voluntary

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quit” forms and transferred them to a different employer nearby,
where they had to wait approximately two weeks to begin work.
§d; at II 98-109. These unexpected layoffs caused the
Plaintiffs to “depend on the charity of a nearby church for food
in order to survive while they waited to begin working again.”
ld; at I 115.

While the Plaintiffs were in Michigan, they resided in
housing that Rasch Farms owned and permitted Manzana and
Williams to use for housing migrant workers. ld; I 78. The
Plaintiffs allege that the units in which they were housed were
overcrowded, unsanitary, and included inadequate food
preparation facilities. lg; II 82-87.

II. ANALYSIS

Rasch Farms argues that this Court does not have personal
jurisdiction over it, as it had neither continuous nor systemic
activity in Puerto Rico to provide general jurisdiction, nor
sufficient minimum contacts with Puerto Rico to provide specific
jurisdiction.4 Def.'s Mot. 4-5.

A. Standard of Law

In order to hear a dispute, this Court must have personal
jurisdiction over the parties. Astro-Med, Inc. v. Nihon Kohden

Am., InC., 591 F.3d 1, 8 (lSt Cir. 2009). TO establish a

 

4 This Court addresses only Rasch Farms's motion for lack of
personal jurisdiction, as its motion for change of venue, ECF
No. 21, becomes moot upon the lack of personal jurisdiction.

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court's personal jurisdiction over a defendant, “[a] plaintiff
bears the burden of proving the necessary facts.” Rivera v.

Atlass Ins. Grp. of Fla., Inc., 678 F. Supp. 2d 23, 27 (D.P.R.

 

2010) (Acosta, J.). “[A] district court may go beyond the four
corners of the pleadings and consider materials presented in
support of a motion to dismiss for lack of in personam
jurisdiction.” Goldman, Antonetti, Ferraiuoli, Axtmayer &

Hertell v. Medfit Int’l, Inc., 982 F.Zd 686, 690 (lst Cir.

 

1993). The Court must take facts alleged by the plaintiff as
true and construe disputed facts in the light most favorable to
the plaintiff, but will not “credit conclusory allegations or
draw farfetched inferences.” Ticketmaster-New York, Inc. v.
Alioto, 26 F.3d 201, 203 (lst Cir. 1994). Here, personal
jurisdiction must be authorized by Puerto Rico’s long-arm
statute and comply with the Due Process Clause of the Fourteenth

Amendment. See Sawtelle v. Farrell, 70 F.3d 1381, 1387 (lst

 

Cir. 1995).

As “Puerto Rico's long-arm statute, Rule 4.7 of the Puerto
Rico Rules of Civil Procedure, has been interpreted to extend
‘up to the point allowed by the Constitution,' we turn to the
constitutional issue.” Bracero v. New Tree Pers. Servs., Inc.,
441 F. Supp. 2d 358, 361 (D.P.R. 2006) (Consuelo Cerezo, J.)
(quoting Benitez-Allende v. Alcan Aluminio Do Brasil, S.A., 857

F.Zd 26, 29 (lst Cir. 1988)). A district court may

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constitutionally exercise authority over a defendant if it has

either general or specific jurisdiction. Massachusetts Sch. of

 

Law at Andover, Inc. v. American Bar Ass'n, 142 F.3d 26, 34 (lst
Cir. 1998).

General jurisdiction “exists when the litigation is not
directly founded on the defendant’s forum-based contacts, but
the defendant has nevertheless engaged in continuous and
systematic activity, unrelated to the suit, in the forum state.”

Id. (quoting United Elec., Radio & Mach. Workers v. 163 Pleasant

 

St. Corp., 960 F.2d 1080, 1088 (lst Cir. 1992)). To establish
specific jurisdiction, the Constitution requires that: “(1)
plaintiffs' claims be related to the defendants' contacts, (2)
defendants' contacts with the state must be purposeful, and (3)
the exercise of jurisdiction must be reasonable under the
circumstances.” Bracero, 441 F. Supp. 2d at 361-362 (citing
Cambridge Literary Props., Ltd. v. W. Goebel Porzellanfabrik

G.m.b.H & Co. Kg., 295 F.3d 59, 63 (lst Cir. 2002)). “An

 

affirmative finding on each of the three elements of the test is
required to support a finding of specific jurisdiction.”

Phillips Exeter Acad. v. Howard Phillips Fund, 196 F.3d 284, 288

 

(lst Cir. 1999).
B. Specific Jurisdiction
The Plaintiffs do not argue that this Court has general

jurisdiction over Rasch Farms, see Pls.’ Opp’n 6, and indeed

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they have not in any way established that Rasch Farms had
“engaged in continuous and systematic activity, unrelated to the
suit, in [Puerto Rico].” United Elec., 960 F.2d at 1088.
Rather, the Plaintiffs argue, this Court has specific
jurisdiction over Rasch Farms by virtue of Manzana’s contacts as
an agent of Rasch Farms and Rasch Farms's submission of its
worksite and housing site data to Manzana for use in its
clearance order. Pls.’ Opp’n 7-10. Because the Plaintiffs have
not carried their burden of demonstrating that the first prong
of the test is met, however, the exercise of jurisdiction over
Rasch Farms is not appropriate.

Courts in this district have held plaintiffs' claims to be
sufficiently related to defendants' forum-state activities when
those activities included the submission of clearance orders
into the interstate clearance system and subsequent recruitment
of workers from Puerto Rico, and the plaintiffs' claims
concerned the recruitment process or clearance order. §§e
Bracero, 441 F. Supp. 2d at 362; Villalobos v. North Carolina

Growers Ass’n, Inc., 42 F. Supp. 2d 131, 140 (D.P.R. 1999)

 

(Fuste, J.). Courts in other circuits have also routinely found
the relatedness requirement to be satisfied, or the exercise of
personal jurisdiction to be appropriate generally, in similar
circumstances. See Ochoa v. J.B. Martin & Sons Farms, Inc., 287

F.3d 1182, 1188-93 (9th Cir. 2002); Gonsalez Moreno v. Milk

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Train, Inc., 182 F. Supp. 2d 590, 594-95 (W.D. Tex. 2002);
Astorga v. Connleaf, Inc., 962 F. Supp. 93, 95 (W.D. Tex. 1996);
Moncevoir Hyppolite v. Gorday, No. 89-1843-C1V-NESBITT, 1990 WL

80684, at *3 (S.D. Fla. Mar. 22, 1990); Garcia v. Vasquez, 524

 

F. Supp. 40, 42 (S.D. Tex. 1981); see also §ig§ v. Altamont
Farms, Inc., 64 N.Y.2d 792, 793-94 (1985) (holding exercise of
personal jurisdiction to be in accordance with due process such
that default judgment was entitled to full faith and credit);

Nazario V. O.J. Thrall, Inc., No. CV 95529180, 1996 WL 285541,

 

at *10-14 (Conn. Super. Ct. May 13, 1996) (same).

Here, it is clear that Manzana’s and Williams’s contacts
with Puerto Rico -- specifically, their submission of the
clearance order into the interstate clearance system and their
telephone calls with and recruitment of the Plaintiffs -- are
sufficiently related to the Plaintiffs' claims. Rasch Farms
argues, however, that the Plaintiffs have failed to point to any
forum-based contacts by Rasch Farms with which the Plaintiffs’
claims may be related. Def.'s Mot. 5. The Plaintiffs in turn
argue that because Manzana and Williams were agents of Rasch
Farms, their contacts in Puerto Rico may be attributed to Rasch
Farms. Pls.’ Opp’n 8.

Indeed, if Manzana and Williams were acting as agents of
Rasch Farms, then the exercise of personal jurisdiction would be

appropriate. See, e.g., Ochoa, 287 F.3d at 1189 (“If [the labor

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contractor] was acting as [the grower’s] agent in this regard,
[the labor contractor's] activities suffice to provide specific
jurisdiction over [the grower].”); Villalobos, 42 F. Supp. 2d at
140. The Plaintiffs have failed to establish, however, that
Manzana and Williams were agents of Rasch Farms.

Nowhere in their complaint do the Plaintiffs specifically
allege an agency relationship. Their only allegations
pertaining to Rasch Farms are that Rasch Farms “utilized
[Manzana] as farm labor contractors” and “compensated [Manzana]
to perform farm labor activities,” Am. Compl. TI 35-36; provided
its worksite and housing addresses to be included in the
clearance order, id; at 1 48; paid the application fee for its
housing to be licensed for occupancy, id; at 1 85; and owned the
fields in which they worked, id; at I 137. Otherwise, the
Plaintiffs allege that the clearance order was submitted by
Manzana, id; at L 46; that Williams conducted telephone
interviews with each of them, id; LL 57-59; and that they were
paid by Williams or Manzana and reimbursed for transportation
costs by Williams, id; at II 68, 71, 74, 117-20. In both their
complaint and affidavits, the Plaintiffs consistently refer to
Manzana, and not Rasch Farms, as their employer. §ee id; at 11
15, 28, 56, 62, 65, 69, 72; Pls.’ Mem. Opp’n Mot. Dismiss, Ex. A
(“Pls.' Ex. A”) 1-26, ECF No. 26-1; Pls.’ Mem. Opp’n Mot.

Dismiss, Ex. F (“Pls.’ Ex. F”) 1-26, ECF No. 26-6. In fact, the

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Plaintiffs' affidavits do not even appear to make mention of
Rasch Farms, much less assert that it was involved in their
employment or had any association with Manzana or Williams. §ee
generally Pls.’ Ex. A; Pls.’ Ex. F.

Nor do the Plaintiffs offer any other evidence showing the
existence of an agency relationship or any level of involvement
by Rasch Farms with their employment by Manzana. The only
evidence they offer to supplement their allegations consists of
the Clearance Order itself, which includes two letters of
commitment from Rasch Farms. Pls.’ Opp’n 2; Pls.’ Mem. Opp’n
Mot. Dismiss, Ex. B (“Pls.’ Ex. B”) 1-26, ECF No. 26-2; Pls.’
Mem. Opp’n Mot. Dismiss, Ex. C (“Pls.' Ex. C”) 1-26, ECF No. 26-
3. In these letters, Rasch Farms verifies that it “commits to
using the services of Manzana, LLC” to fulfill its need of
“approximately 25 workers for orchard maintenance and apple
harvesting,” Pls.’ Ex. B, and that it has rented “labor housing
for H2A workers in 2015” to Manzana, Pls.’ Ex. C. The
Plaintiffs also provide no evidence that they did in fact work
in fields owned by Rasch Farms.

Rasch Farms argues that the Plaintiffs are confusing its
contract with Manzana for the performance of apple orchard
maintenance and harvesting services with an agency relationship
for the recruitment of workers to be employed by Rasch Farms.

Def.'s Reply Mem. Supp. Mot. Dismiss (“Def.’s Reply”) 2, ECF No.

[ll]

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28-1. The Clearance Order itself supports this contention, as
it shows that Manzana was recruiting workers for its own
employment in order to fulfill not just one contract with Rasch
Farms, but numerous contracts it had with various farms in
Michigan, Def.'s Reply 3-4; Am. Compl., Ex. 1 (“Clearance
Order”). In fact, according to the Clearance Order and letters
of commitment submitted by the Plaintiffs, Rasch Farms's needs
accounted for only 25 of the 235 workers that Manzana requested
for employment. §ee Clearance Order 1; Pls.’ Ex. B. Rasch
Farms further provides the Court with an affidavit from Williams
asserting that Manzana was hired “on an independent contractor
basis” and is the “sole employer” of its workers and has sole
control over their payment, hiring, and firing. Def.'s Reply,
Ex. 1 at 11 3-4. The affidavit also states that Rasch Farms
provided letters of commitment for the sole purpose of allowing
Manzana, in accordance with state requirements, to prove that it
had sufficient contracts and housing for the requested workers.
ld; at 11 6-7, 11; Def.'s Reply 3 n.11. Finally, Williams avers
that none of the Plaintiffs was actually ever assigned to work
on, or did work on, Rasch Farms. Def.'s Reply, Ex. 1 at 1 14.
The cases to which the Plaintiffs cite are distinguishable
in that personal jurisdiction was established in circumstances
more compelling than these. In several cases relied on by the

Plaintiffs, there was no agent; rather, the grower defendants

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themselves submitted clearance orders into the interstate
system. §§§ Bracero, 441 F. Supp. 2d at 362; Neizil v.
Williams, 543 F. Supp. 899, 903 (M.D. Fla. 1982); Garcia, 524 F.
Supp. at 42; §io§, 64 N.Y.2d at 792, In others, an agency
relationship (or other relationship giving rise to personal
jurisdiction) was established where the grower defendant became
the workers’ ultimate employer or was otherwise directly
involved in the recruiting and hiring process. §e§ Qchoa, 287
F.3d at 1186-87 (describing how grower set plaintiffs' wage
rate, covered transportation expenses, and paid wages to
plaintiffs through agent); Moreno, 182 F. Supp. 2d at 592
(stating that “[the grower] recruited and hired Plaintiffs,
through [the labor contractor], to work for [the grower]”);
Astorga, 962 F. Supp. at 94 (noting that the grower “worked
closely with [the labor contractor] by providing him with
literature” for employee recruitment, provided the employment
contracts ultimately signed by the plaintiffs, and helped pay
for the reimbursement of plaintiffs' travel expenses). Indeed,

in Sarmiento v. Producer’s Gin of Waterproof, Inc., 439 F. Supp.

 

 

2d 725 (S.D. Tex. 2006), where the plaintiff “merely allege[d]
that [the labor contractor] acted as Defendants’ recruiting
agent” and “failed to provide any evidence, including his own
affidavit testimony, to support his claim,” the court

distinguished Astorga and Moreno because in those cases,

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“personal jurisdiction was based on evidence of an established
principal-agent relationship.” ld; at 730. Ultimately,
“[m]indful that [the plaintiff’s] uncontroverted allegations
must be accepted as true,” the court found that the plaintiff
had established a prima facie case of minimum contacts because
the defendants had “wholly failed to controvert the alleged
association between themselves and the recruiting agent.” 1§;
Finally, in Villalobos, a grower’s association that submitted
clearance order on behalf of in-state growers was found to have
acted as the growers' agent. 42 F. Supp. 2d at 140. In that
case, however, agency did not appear to be disputed, and the
court repeatedly spoke of the “defendants” having submitted
“clearance orders” through the association, rather than
referring to one clearance order submitted by one defendant, the
association. 1§;

In light of the meager allegations and evidence provided by
the Plaintiffs, as well as the countervailing evidence provided
by Rasch Farms, the Court cannot credit the Plaintiffs'
conclusory assertion that Manzana and Williams were acting as
Rasch Farms's agents. The mere provision of an address, or
letter of commitment, to be included in a clearance order
containing myriad other addresses (and, presumably, letters of
commitment) does not suffice to subject Rasch Farms to this

Court's personal jurisdiction. Cf. Aviles v. Kunkel, 978 F.2d

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201, 205 (5th Cir. 1992) (reversing exercise of personal
jurisdiction over out-of~state farm owners whose only forum
contact was “one telephone call and one letter which merely
advised plaintiffs of the start date” of employment they had
previously accepted in the farm owners’ home state).
III. CONCLUSION

For the foregoing reasons, this Court GRANTS Rasch Farms’s
motion to dismiss for lack of personal jurisdiction, see ECF No.
22.

SO ORDERED.

      

WILLIAM G. Y
DISTRICT JU E

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